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UNITED sTATEs DISTRICT CoURT
“ FoR THE DISTRICT oF CoLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on May 3, 2018

UNITED STATES OF AMERICA ) Criminal No. 18-
' )
) Grand Jury Original
v. )
) VIOLATIONS:
)
BILAL AHMED, DDS ) 18 U.S.C. § 371 (Conspiracy);
) 18 U.S.C. § 1347 (Health Care Fraud);
) 18 U.S.C. § 1343 (Wire Fraud).
and )
)
MAHSA AZIMIRAD, ) FORFEITURE ALLEGATION:
) 18 U.S.C. § § 981(a)(1)(C) and 982(a)(7),
) 21 U.S.C. § 853(p),
) 28 U.S.C. § 2461(c) (Criminal Forfeiture).
) .
Defendants. )
)
I N D I C T M E N T
The Grand Jury charges that:
Introduction

At all times material to this Indictment:

l. Medicaid was a health insurance program established by Congress under Title XIX
of the Social Security Act of 1965 that provides health insurance coverage to individuals who
qualify under a “categorically needy” program or by meeting the conditions to be considered
“medically needy.” Categorically needy programs include Temporary Assistance for Needy
Families (TANF), Supplemental Security Income (SSI), and refugee programs Recipients of

medical services, including dental services, are referred to as Medicaid “recipients” or

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“beneficiaries.” Medicaid is overseen and administered by the Centers for Medicare and Medicaid
Services (“CMS”), an agency within the United States Department of Health and Hurnan Services
(“HHS”). In the District of Columbia, the federal government provides the funding for more than
70% of Medicaid, with the District of Columbia providing the remaining funds. Medicaid in the
District of Columbia (“D.C. Medicaid”) was administered by the District of Columbia’s
Department of I-Iealth Care Finance (“DHCF”), located at 441 4th Street, N.W., Washington, D.C.
20001. Medicaid is a “health care benefit program” as defined in 18 U.S.C. § 24(b).
The D.C. Medicaid Billing Process

2. To receive payments from D.C. Medicaid for providing covered dental services,
dental providers must submit an enrollment application to obtain a Medicaid provider number.
Dentists who are enrolled in D.C. Medicaid and purport to provide covered dental services to
Medicaid recipients are known as “providers.” When the provider enrolls in the Medicaid
program, he/she is assigned a classification based on the information submitted on his/her
enrollment form. The classification assigned to the provider will determine the services for which
he/she can be reimbursed. In the provider application, dental providers indicate whether they are
individual providers, group practice providers, clinic providers, a facility provider, or a waiver
provider, Additionally, the dental provider agrees to abide by all federal and local laws,
regulations, and program manuals applicable to dental providers Providers accepted into the D.C.
Medicaid program are given a unique provider identification number, known as a National
Provider Identifier (“NPI”). Only providers assigned a NPI can submit claims for payment to
Medicaid. A provider can use only their designated NPI to bill Medicaid for services. Medicaid

operates as a vendor payment program, with payments made directly to the providers.

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3. Once it obtains a NPI, a dental provider can submit or cause the submission of
claims to D.C. Medicaid for payment for dental services the provider contends it has provided to
D.C. Medicaid beneficiaries To receive payments from D.C. Medicaid, dental providers operating
in the District of Columbia are required to submit a claim, either electronically or in paper form.
At all times relevant to this Indictment, DHCF contracted with Xerox to serve as its fiscal agent to
receive and process claims submitted by D.C. Medicaid providers, including claims for dental
services. Xerox had offices located at 750 First Street, N.E., Washington, D.C. 20002. However,
claims for Medicaid were processed through the Medicaid Management Information System
(“MMIS”), physically located in Pittsburgh, Pennsylvania. For each claim of reimbursement,
Xerox assigned a unique Transaction Control Number ("TCN") that followed the specific claim
from submission through payment Xerox staff located in the District of Columbia prepared a
weekly payment cycle report by accessing the information at MMIS in Pittsburgh, Pennsylvania
and calculating the total amount of Medicaid claims approved for payment to Medicaid providers.
Xerox sent the payment information to the District of Columbia Offlce of Finance and Treasury,
located at 1101 4"‘ Street, S.W., Washington, D.C. 20024. The D.C. Treasury paid the approved
D.C. Medicaid claims via check sent through the U.S. mail or via electronic fund transfer,
whichever method the provider requested. The Medicaid provider received the payment and a
description of the payments in a schedule known as a Remittance Advice.

4. On each claim submitted by a dental provider to D.C. Medicaid, the provider had
to identify certain inforrnation, such as the name of the Medicaid recipient, the date on which
services were rendered, the number or letter identifying the tooth on which work was perforrned,

the tooth surface (when applicable), the dental procedure code and the corresponding description,

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the NPI for the treating dental provider, and the amount of money being claimed by the dental
provider as payment from D.C. Medicaid.

5. D.C. Medicaid pays only for dental services that actually were provided as claimed.

6. The American Dental Association assigned and published numeric codes, known
as Current Dental Terminology (“CDT”). The codes were a systematic listing of procedures and
services performed by providers. Dental providers used the CDT codes to describe and evaluate
the services for which they submitted Medicaid claims. D.C. Medicaid used the codes, in part, to
decide whether to issue or deny payment. Each healthcare benefit program established a
reimbursement fee for each procedure described by a CDT code. There were approximately 192
CDT codes, including code D2799 for provisional crowns, in effect in the period relevant to this
Indictment. The procedures and services represented by the codes were healthcare benefits, items
and services within the meaning of 18 U.S.C. § 24(b).

7. The average adult human mouth contains 32 teeth. When the integrity of a tooth is
compromised, but extraction is not necessary, the tooth can be shaved down and capped with a
permanent crown. While the permanent crown is fabricated, a temporary crown or a provisional
crown may be installed on the shaved tooth. A temporary crown typically was used on a shaved
tooth to protect it for about a week until the permanent crown was available. A provisional crown
was used when additional treatment had to be performed prior to the patient receiving a permanent
crown. A provisional crown could remain in the mouth for a longer duration than a temporary
crown; and typically could be left on the shaved tooth for about six months. Provisional crowns
would not be used for patients with a complete set of dentures because the patients had no teeth to

which a crown could be attached.

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D.C. Medicaid Record Keeging Reguirements

8. D.C. Medicaid dental providers were required to maintain the medical, financial,
and administrative records concerning services provided to Medicaid beneficiaries for a minimum
often (10) years (unless otherwise specified). These medical and fiscal records must fully disclose
the nature and extent of the services rendered to beneficiaries If DHCF terminates an agreement
with a provider, the records relating to services rendered up to the effective date of the termination
remain subject to the requirements stated in the D.C. Medicaid manual.

9. D.C. Medicaid regulations required that medical records be sufficiently complete
to permit a review of the appropriateness of reimbursement made by D.C. Medicaid to a dental
provider for services provided to a D.C. Medicaid beneficiary

Individuals and Entities

10. Defendant BILAL AHMED (“AHMED”) was a resident of the state of Maryland.
Defendant AHMED was a licensed dentist in the District of Columbia and, according to the
company’s Trade Registration Name Form, dated October 19, 2009, the sole proprietor of
Universal Smiles dental practice (“Universal Smiles”). AHMED acquired the dental practice from
another dentist in 2009, at which time the name of the practice was changed to Universal Smiles.
Universal Smiles’ offices were located at 2311 M Street, N.W., Suite 400, Washington, D.C.
20037. On June 27, 2013, AHMED changed Universal Smiles from a Professional Corporation to
a Professional Limited Liability Company (PLLC). The articles of organization for Universal
Smiles (PLLC) list AHMED as the registered agent for the corporation.

ll. On or about February 26, 2014, DHCF issued a notice of suspension of D.C.
Medicaid payments to Universal Smiles. On or about June 24, 2014, the D.C. Office of

Admim`strative Hearings upheld the DHCF’s decision to suspend D.C. Medicaid payments to

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llniversal Smiles. On or about November 19, 2014, the D.C. Dentistry Board executed a consent
order that suspended AHMED’s D.C. dentistry license for no less than one year.

12. On or about January 7, 2015, AHMED formed a limited liability company in
Maryland, called Dental Equipment and Services, LLC (“DES”). The principal office for DES is
listed as 4702 Randolph Road, Rockville, Maryland 20852, which was a property owned by
AHMED, AHMED was listed as the registered agent for DES at the aforementioned address.
DES engaged in the business of providing business support services required by dental practices,
both in their start-up and established phases, in addition to providing office space, equipment,
technology, human resources, furnishings, supplies, inventory, and marketing services. Some of
the dentists who came to work for DES after AHMED’s dental license was suspended, entered
into business agreements with DES. These agreements list the “practice site” as 2311 M Street,
N.W., Suite 400, Washington, D.C. 20037, which is Universal Smiles’ office.

13. Defendant MAHSA AZIMIRAD (“AZIMIRAD”) was a resident of the state of
Maryland. In 2011, AZIMIRAD was hired as the office manager for Universal Smiles (and
eventually performed the same fiinction for DES). As the office manager, AZIMIRAD submitted
and caused to be submitted, all claims for payment for D.C. Medicaid patients. She submitted
those claims to D.C. Medicaid in paper form or electronically. Beginning in or about 2015,
AZIMIRAD hired a third~party biller, C.H., who was physically located in North Carolina, to
submit the claims for payment to D.C. Medicaid. AZIMIRAD provided the billing information
by electronic mail or facsimile to C.H. so that the claims could be submitted to D.C. Medicaid
through its web-based portal.

14. AZIMIRAD also owned and operated Emerald Consultants, LLC, a company that

purported to provide marketing services to Universal Smiles and DES. AZIMIRAD registered
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the company in 2013, and was listed as its registered agent. Emerald Consultants, LLC entered
into a “Marketing Consulting Agreement” (hereafter the “Agreement”) with “Bilal Ahmed DDS
PC dba Universal Smiles DC” on May 20, 201 1. Pursuant to this Agreement, Emerald Consultant,
LLC provided Universal Smiles With marketing services, including “implementing plans and
strategies that help client sell its products or services.” The Agreement allowed Emerald
Consultants, LLC to determine the “manner in Which the [s]ervices are to be performed and the
specific hours to be worked.” The Agreement further provided that Emerald Consultants, LLC
would receive a percentage of Universal Smiles’ “individual monthly collections.” AZIMIRAD

arranged for commercials to appear on television channel DC 50 for Universal Smiles/DES.

Background

Universal Smiles Medicaid Provider Agreement

15. On or about March 9, 2012, AHMED, doing business as Universal Smiles,
submitted a provider application to the D.C. Department of Health, Medical Assistance
Administration, to become a group D.C. Medicaid dental provider, The provider application dated
March 7, 2012, indicated AHMED was the sole owner of the dental practice. AHMED became
an approved group D.C. Medicaid dental provider effective on or about June 13, 2012. AHMED’s
group dental provider agreement required him, among other things, to maintain all records,
including those related to services provided to covered Medicaid recipients, for a period of six (6)
years or until all audits were complete, whichever was longer.

16. AHMED, through Universal Smiles and other companies controlled by him, hired
several dentists to work at the dental practice. At various times during the period from August
2012 through February 2016, the dentists who provided services at the dental practice included
Dr. DK, Dr. OA, Dr. AR, Dr. BLB, Dr. DH, Dr. PR, and Dr. ST. AHMED and AZIMIRAD

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required dentists to be D.C. Medicaid providers to work for Universal Smiles or DES.
AZIMIRAD assisted dentists, who were not D.C. Medicaid providers, with enrolling in the
program.

Universal Smiles and DES Medicaid Billing

17. For each patient visit, dentists gave AZIMIRAD a Post-It Note or Routing Slip that
reflected the dental services provided to a Medicaid beneficiary.

18. AHMED and AZIMIRAD submitted and caused to be submitted claims to D.C.
Medicaid that they knew contained false or fraudulent statements and representations of material
fact concerning the services allegedly provided to Medicaid beneficiaries by dentists at Universal
Smiles and DES. The materially false or fraudulent statements and representations of material fact
include, but are not limited to:

a. The purported delivery of provisional crowns or permanent crowns to

Medicaid beneficiaries who had a complete set of dentures and did not have teeth;

b. The purported repeated delivery of provisional crowns to individual

Medicaid beneficiaries, some of whom purportedly received hundreds of provisional

crowns;

c. The purported delivery of permanent and provisional crowns that are not
supported by the dentists’ notes in the Medicaid beneficiaries’ files; and

d. The purported provision of dental services to Medicaid beneficiaries that
were not provided, but whose patient files or the dentists’ billing records were annotated

falsely to justify submitting claims to D.C. Medicaid.

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19. Between on or about August 9, 2012, through on or about February 26, 2014,
AHMED and AZIMIRAD caused Universal Smiles to submit claims to, and receive payments
from, D.C. Medicaid for approximately $12,000,000.

20. Between on or about November 17, 2014, through on or about February 1, 2016,
AHMED and AZIMIRAD caused DES to submit claims to, and receive payments from, D.C.
Medicaid for approximately $1,000,000.

21 . Of the more than $13 Million that D.C. Medicaid collectively paid Universal Smiles
and DES, approximately $5.5 Million was for provisional crowns. For example, from on or about
August 30, 2012, through on or about February 26, 2014, AHMED and AZIMIRAD caused D.C.
Medicaid to pay Universal Smiles for 26,351 claims for provisional crowns using CDT code
D2799. In contrast, for the same period, AHMED and AZIMIRAD caused D.C. Medicaid to pay
Universal Smiles for 29,975 claims using all of the remaining 191 CDT codes.

22. AHMED and AZIMIRAD personally benefitted from the scheme to defraud D.C.
Medicaid, with AHMED receiving more than $8 Million, and AZIMIRAD receiving more than
$1 Million, in alleged compensation

QQM
(Conspiracy)

The Conspii'acy
23. Paragraphs l through 22 of this Indictment are re-alleged and incorporated by
reference, as if fully set forth herein.
24. From in or about March 2012, and continuing until in or about February 2016, the
exact dates being unknown to the Grand Jury, in the District of Columbia and elsewhere, the

defendants,

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BILAL AHMED
and
MAHSA AZIMIRAD
did knowingly and willfully, that is with the intent to further the objects of the conspiracy,
combine, conspire, confederate, and agree with each other, and with others known and unknown
to the Grand Jury, to commit certain offenses against the United States, that is:
a. _I;IMh_Qa;e_Fr§id- by knowingly and willfully executing a scheme and
artifice to defraud a health care benefit program affecting commerce, as defined in Title 18,
United States Code, Section 24(b), that is, D.C. Medicaid, and to obtain by means of
materially false and fraudulent pretenses, representations, and promises, money and
property owned by, and under the custody and control of, said health care benefit program,
in connection with the delivery of and payment for health care benefits, items, and services,
in violation of 18 U.S.C. § 1347; and
b. Wire Fraud - by engaging in a scheme to defraud and to obtain money and
property by means of materially false and fraudulent pretenses, representations, and
promises and for the purpose of executing and attempting to execute the scheme to defraud,
willfully causing an interstate wire transmission, in violation of 18 U.S.C. § 1343.
Goal of the Conspiracy to Defraud D.C. Medicaid
25. It was the goal of the conspiracy for AHMED and AZIMIRAD to enrich
themselves by submitting false and fraudulent claims to D.C. Medicaid seeking payment for the
costs of dental services that were not provided.
Manner' and Means of the Conspiracy
26. The manner and means by which AHMED and AZIMIRAD sought to accomplish

the goals of the conspiracy and scheme to defraud included, among other things, the following:

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a_ AHMED, with defendant AZIMIRAD’s assistance, applied to be a group
Medicaid provider and to obtain a NPI number. Thereafter, AHMED and AZIMIRAD
converted the Universal Smiles dental practice from a predominantly private insurance or
private pay clientele into a predominantly Medicaid paid clientele to increase profits, and
in turn increase their income through false and fraudulent billing of D.C. Medicaid for
services not provided;

b. AHMED and AZIMIRAD required dentists employed by Universal Smiles
or DES to be, or to become, Medicaid dental providers. Defendant AZIMIRAD assisted
dentists with the Medicaid provider application process. Defendant AZIMIRAD directed
some dentists to open post office boxes and bank accounts jointly with AZIMIRAD.
Medicaid payments were delivered to the post office boxes and were collected, deposited
and disbursed by, or at the direction of, AZIMIRAD;

c. AHMED placed AZIMIRAD solely in charge of Medicaid billing knowing
that AZIMIRAD was billing for dental services that were not provided. AZIMIRAD had
dominion and control over the Post-It Notes and Routing Slips submitted by the dentists
reflecting dental services provided to Medicaid patients and that were supposed to be used
to bill D.C. Medicaid;

d. AZIMIRAD submitted claims to D.C. Medicaid for services she knew had
not been provided; and she provided C.H., a third-party billing vendor, with false
information concerning purported dental services provided to cause C.H. to submit false

claims to D.C. Medicaid;

ll

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e. AHMED and AZIMIRAD made or caused to_ be made false entries in
patients’ dental records or in the billing information or claims submitted to D.C. Medicaid.
For instance,

(l) AHMED directed a dental assistant, G.E., to make false entries in
patients’ dental records concerning dental services that AHMED knew were not
provided;

(2) AZIMIRAD directed dentists to charge under a different CDT code
for procedures that were not billable or altered the billing information without
dentists’ knowledge to increase the amount billed to Medicaid; and

(3) AZIMIRAD submitted and caused to be submitted claims to D.C.
Medicaid for services that were not reflected in or that were different from the
dentists’ entries in the Medicaid beneficiaries’ files;

f. AHMED and AZIMIRAD submitted and caused to be submitted, claims
to D.C. Medicaid for the purported repeated placement of provisional crowns on the same
teeth, sometimes resulting in D.C. Medicaid being billed for hundreds of provisional

crowns for an individual beneficiary. For instance,

 

 

 

 

Medicaid Beneficiary Number of Provisional Crowns Billed to
D.C. Medicaid

XXXX1644 138

XXXX3 837 487

XXXX5777 107

 

 

 

 

g. AHMED and AZIMIRAD used the CDT code D2799 to bill for

provisional crowns that were not provided to increase the amount billed to D.C. Medicaid.

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h, AHMED and AZIMIRAD submitted and caused to be submitted, claims
to D.C. Medicaid for dental services not provided knowing that they were false and
fraudulent because Universal Smiles and DES staff and dentists complained to them that
bills were being submitted for work that was not performed.

QV_M§
27. In furtherance of the conspiracy and the scheme to defraud and to effect the object
thereof, AHMED and AZIMIRAD committed the following overt acts, among others,
MBMMM

a. Between on or about January 13, 2014, through on or about February 24,
2014, in the District of Columbia and elsewhere, AHMED and AZIMIRAD submitted
and caused to be submitted claims to D.C. Medicaid in which they falsely claimed to have
provided Medicaid Beneficiary XXXX5582 with 55 provisional crowns, knowing that the
dental services had not been provided because the beneficiary had a complete set of
dentures and no teeth.

b. Between on or about July 11, 2013, through on or about February 3, 2014,
in the District of Columbia and elsewhere, AHMED and AZIMIRAD submitted and
caused to be submitted claims to D.C. Medicaid in which they falsely claimed to have
provided Medicaid Beneficiary XXXX4124 with 51 provisional crowns, knowing that the
dental services had not been provided because the beneficiary had a complete set of
dentures and no teeth.

False Claims for Alleged Repeated Delive§y of Provisional Crowns

c. Between on or about April 3, 2013, through on or about February 19, 2014,

in the District of Columbia and elsewhere, AHMED and AZIMIRAD submitted and

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caused to be submitted claims to D.C. Medicaid in which they falsely claimed to have »
provided Medicaid Beneficiary XXXX0996 with 524 provisional crowns, knowing that the
dental services had not been provided.

d. Between on or about July 24, 2013, through on or about January 30, 2014,
in the District of Columbia and elsewhere, AHMED and AZIMIRAD submitted and
caused to be submitted claims to D.C. Medicaid in which they falsely claimed to have
provided Medicaid Beneficiary XXXX5916 with 295 provisional crowns, knowing that the
dental services had not been provided.

e. Between on or about January 30, 2014, through on or about February 26,
2014, in the District of Columbia and elsewhere, AHMED and AZIMIRAD submitted
and caused to be submitted claims to D.C. Medicaid in which they falsely claimed to have
provided Medicaid Beneficiary XXXX7295 with 40 provisional crowns, knowing that the
dental services had not been provided.

False Claims for Dental Services Not Supported by Patients’ Dental Records

f. AHMED and AZIMIRAD submitted and caused to be submitted a claim
to D.C. Medicaid in which they falsely claimed that on or about February 4, 2014, in the
District of Columbia and elsewhere, dental services were provided to Medicaid Beneficiary
XXXX0890, that is the placement of 13 provisional crowns, knowing that the dental
services had not been performed because the patient’s file reflects that the appointment was
rescheduled.

g. AHMED and AZIMIRAD submitted and caused to be submitted a claim
to D.C. Medicaid in which they falsely claimed that on or about April 7, 2015, in the

District of Columbia and elsewhere, dental services were provided to Medicaid Beneficiary

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XXXX03 73, that is the placement of 15 provisional crowns, knowing that the dental
services had not been performed because the patient’s file reflects that the patient received
three provisional crowns,

h. AHMED and AZIMIRAD submitted and caused to be submitted a claim
to D.C. Medicaid in which they falsely claimed that on or about May 7 , 2015, in the District
of Columbia and elsewhere, dental services were provided to Medicaid Beneficiary
XXXX3370, that is placement of 14 provisional crowns, knowing that the dental services
had not been performed because the patient’s file reflects that the patient received dental
services on one tooth only.

i. AHMED and AZIMIRAD submitted and caused to be submitted a claim
to D.C. Medicaid in which they falsely claimed that on or about May 7, 2015, in the District
of Columbia and elsewhere, dental services were provided to Medicaid Beneficiary
XXXX2012, that is the placement of 6 provisional crowns, knowing that the dental services
had not been performed because the patient’s file reflects that no new provisional crowns
were provided.

Falsi in Patient Records and Billin Inforrnation

j. AHMED and AZIMIRAD submitted and caused to be submitted, a claim
to D.C. Medicaid in which they falsely claimed that on or about February 12, 2014, in the
District of Columbia and elsewhere, dental services were provided to Medicaid Beneficiary
XXXX7295 on three teeth, knowing that the dental services had not been performed
because Dr. DK reported to them that he only worked on one tooth and that the entry in his

patient’s file reflecting work on the other two teeth was false and not his.

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k. AHMED and AZIMIRAD submitted and caused to be submitted, a claim
to D.C. Medicaid in which they falsely claimed that on or about November 4, 2015, in the
District of Columbia and elsewhere, dental services were provided to Medicaid Beneficiary
XXXX2012, that is a limited oral examination and re-cementation of a crown, knowing
that the dental services had not been performed because Dr. ST reported only providing
the patient with a whitening tray, a non-billable procedure, and the entries on the patient’s
routing slip concerning the other procedures were not hers.

(Conspiracy, in violation of Title 18, United States Code, Section 371).

COUNT TWO
(Health Care Fraud)

28. From at least in or about March 2012, through in or about February 2016, in the

District of Columbia and elsewhere, the defendants,
BILAL AHMED
and
MAHSA AZIMIRAD

did knowingly and willfully execute and attempt to execute a scheme and artifice to defraud a
health care benefit program, namely D.C. Medicaid, and to obtain, by means of materially false
and fraudulent pretenses, representations and promises, money and property owned by, and under
the custody and control of a health care benefit program, namely D.C. Medicaid, in connection
with the delivery of and payment for health care benefits, items, and services.

29. Paragraphs 1 through 22, 26 and 27 of this Indictment are re-alleged and contain

the description of the above-mentioned conspiracy and scheme to artifice to defraud.

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30. For purposes of executing the scheme to defraud, AHMED and AZIMIRAD
submitted and caused to be submitted to D.C. Medicaid, false and fraudulent claims for dental
services that were not provided as set forth in Paragraph 27 of this Indictment.

(Health Care Fraud - Fraudulent Billings, in violation of Title 18, United States Code,
Sectioo 1347, and Aiding and Abetting and Causing an Act to be Done, in violation of Tltle
18, United States Code, Section 2).

COUNTS THREE THROUGH SEVEN
(Wire Fraud)

31. From in or about March 2012, through in or about February 2016, in the District of

Columbia and elsewhere, defendants,

BILAL AHMED
and
MAHSA AZIMIRAD

devised and intended to devise a scheme and artifice to defraud D.C. Medicaid, and to obtain
money and property from D.C. Medicaid by means of materially false and fraudulent pretenses,
representations, and promises, for services not provided, as more fully described below.

32. Paragraphs l through 22, 26 and 27 of this Indictment are hereby re-alleged and
contain the description of the above-mentioned scheme and artifice to defraud.

33. On or about the dates listed below, in the District of Columbia and elsewhere, for
the purpose of executing the above-described scheme and artifice to defraud, AHMED and
AZIMIRAD did willfully cause to be transmitted by means of wire communication in interstate

commerce, certain writings, signals, and sounds, that is, the electronic transfer of claims and billing

information for payment from the District of Columbia to the states set forth below:

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Count Date of Claims Medicaid CDT Approximate Recipient
. Service Transmission Beneficiary Code(s) Amount Entity and
(on or Date Billed Billed State
about) (on or about)
3 2/12/2014 2/12/2014 XXXX7295 D0460 $7,876 Xerox
D2394 MMIS
D2750 Pennsylvania
D3110
D4249
D2799
4 11/4/2015 11/4/2015 XXXX2012 D0140 $93 Third Party
D2920 Biller
North
Carolina
5 4/7/2015 4/7/2015 XXXX0373 D2799 $3,000 Third Party
Biller
North
Carolina
6 5/7/2015 5/7/2015 XXXX337O D2799 $2,800 Third Party
Biller
North
Carolina
7 5/7/2015 5/7/2015 XXXX2012 D2799 $1,200 Third Party
Biller
North
Carolina

 

(Wire Fraud, in violation of Title 18, United States Code, § 1343).

FORFEITURE ALLEGATION

1. Upon conviction of either of the offenses alleged in Counts One and/or Two of this

Indictment, the defendants shall forfeit to the United States any property, real or personal, which

constitutes or is derived from proceeds traceable to the commission of these offenses, pursuant to

Title 18, United States Code, Section 982(a)(7). The United States will also seek a forfeiture

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money judgment against the defendants equal to the value of any property, real or personal, which
constitutes or is derived, directly or indirectly, from gross proceeds traceable to the commission of
these offenses, pursuant to Title 18, United States Code, Section 982(a)(7).

2. Upon conviction of either of the offenses alleged in Counts One and/or Three
through Seven of this Indictment, the defendants shall forfeit to the United States any property,
real or personal, which constitutes or is derived from proceeds traceable to the commission of these
offenses, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States
Code, Section 2461(c), The United States will also seek a forfeiture money judgment against the
defendants equal to the value of any property, real or personal, which constitutes or is derived,
directly or indirectly, from gross proceeds traceable to the commission of these offenses, pursuant
to Title 18, United States Code, Section 981(a)(1)(C) and Title 28`, United States Code, Section
2461(c).

3. If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property that cannot be divided without
difficulty;

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the defendant shall forfeit to the United States any other property of the defendants, up to the value
of the property described above, pursuant to Title 21 , United States Code, Section 853(p).
(Criminal Forfeiture, pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and

982(a)(7); Title 28, United Sates Code, Section 2461(c); and Title 21, United States Code,
Section 853(p)).

ssiE K. LIU / t/
nited States Attorney

for the District of Columbia

A TRUE BILL:

 

Foreperson

Dated: January , 2019

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